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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 07-20398-CR-UNGARO/O’SULLIVAN

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  MABEL DIAZ and ABNER DIAZ

                 Defendants.
                                                    /

                                           ORDER

        THIS MATTER is before the Court pursuant to Mabel and Abner Diaz’s Motion in

  Limine to Exclude Expert Testimony, or Alternatively, Request for Daubert1 Hearing

  (DE# 247, 2/21/08). Having reviewed the applicable filings and the law and having held

  an evidentiary hearing on March 19, 2008, it is

        ORDERED AND ADJUDGED that Mabel and Abner Diaz’s Motion in Limine to

  Exclude Expert Testimony, or Alternatively, Request for Daubert Hearing (DE# 247,

  2/21/08) is GRANTED in part and DENIED in part.

                                      BACKGROUND

        Mabel and Abner Diaz (hereinafter “defendants”) are charged in a 56-count2

  Second Superseding Indictment with Conspiracy to Commit Health Care Fraud (Count

  1) in violation of 18 U.S.C. § 1349, Health Care Fraud (Counts 2-33) in violation of 18

  U.S.C. § 1347, Conspiracy to Commit Money Laundering (Counts 34 and 39) in



        1
            Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).
        2
          The defendants are named in every count of the Superseding Indictment
  except counts 37 and 44.
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  violation of 18 U.S.C. § 1956(h), Money Laundering (Counts 35-36, 38) in violation of

  18 U.S.C. § 1957, Money Laundering (Counts 40-24) in violation of 18 U.S.C. §

  1956(a)(1)(B)(i) and Aggravated Identity Theft (Counts 45-56) in violation of 18 U.S.C. §

  1028A.

        On February 21, 2008, the defendants filed Mabel and Abner Diaz’s Motion in

  Limine to Exclude Expert Testimony, or Alternatively, Request for Daubert Hearing

  (DE# 247, 2/21/08). The government filed Government’s Response to Motions to

  Compel Discovery and to Exclude Expert Testimony (DE# 261) on March 4, 2008. The

  defendants’ reply was filed on March 10, 2008. See Mabel and Abner Diaz’s Reply to

  Government’s Response to Motion to Exclude Expert Testimony (DE# 266, 3/10/08).

        On March 19, 2008, the Court held an evidentiary hearing pursuant to Daubert

  v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). At the Daubert hearing, the

  government presented the testimony of one of its experts Edith “Peggy” Sposato, an

  Advanced Registered Nurse Practitioner. No other witnesses testified at the hearing.

  The Court admitted Government Exhibits H0, H1, H5, H7 and H8. At the Court’s

  request, the government filed a supplement to its response on March 26, 2008. See

  Government’s Supplement to Response to Motion to Exclude Expert Testimony (DE#

  283, 3/26/08).

                                    LEGAL STANDARD

        “Federal Rule of Evidence 702, as explained by the Supreme Court in Daubert v.

  Merrell Dow Pharmaceuticals, Inc.[, 509 U.S. 579 (1993)] and its progeny, controls

  determinations regarding the admissibility of expert testimony.” City of Tuscaloosa v.

  Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998) (footnote and citation


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  omitted). Under Rule 702:

         [e]xpert testimony may be admitted into evidence if: (1) the expert is
         qualified to testify competently regarding the matters he intends to
         address; (2) the methodology by which the expert reaches his conclusions
         is sufficiently reliable as determined by the sort of inquiry mandated in
         Daubert; and (3) the testimony assists the trier of fact, through the
         application of scientific, technical, or specialized expertise, to understand
         the evidence or to determine a fact in issue.

  Id. (footnote omitted). “The burden of establishing qualification, reliability, and

  helpfulness rests on the proponent of the expert opinion, whether the proponent is the

  plaintiff or defendant in a civil suit, or the government or the accused in a criminal

  case.” United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (en banc).

         In Daubert, the Supreme Court applied the following factors in determining

  whether scientific expert testimony was admissible under Rule 702: (1) whether the

  theory or technique can and has been tested; (2) whether the theory or technique has

  been subjected to peer review and publication; (3) what the theory or technique’s

  known or potential rate of error is, and whether standards controlling its operation exist;

  and (4) whether the expert’s theory or technique is generally accepted in the field.

  Daubert, 509 U.S. at 593-94.

         The Daubert inquiry is a flexible one, giving district courts great latitude in

  determining which of the Daubert factors, if any, are appropriate in assessing the

  admissibility of expert testimony in a particular case. See Kumho Tire Co., Ltd. v.

  Carmichael, 526 U.S. 137, 141 (1999) (noting that “Daubert's list of specific factors

  neither necessarily nor exclusively applies to all experts or in every case.”). “Whether

  the Daubert opinion factors are even pertinent to assessing reliability in a given case

  will ‘depend[ ] on the nature of the issue, the expert’s particular expertise, and the


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  subject of his or her testimony.’” United States v. Brown, 415 F.3d 1257, 1267 (11th Cir.

  2005) (citing Kuhmo, 526 U.S. at 150). In Brown, the Eleventh Circuit affirmed the

  district court’s order admitting the testimony of two experts even though the experts’

  methodology only satisfied one Daubert factor. Id.

                                        DISCUSSION

        In their motion in limine, the defendants seek to exclude the testimony of three of

  the government’s expert witnesses: Edith M. Sposato (an Advanced Registered Nurse

  Practitioner who is employed by the United States Attorney’s Office), Dr. Klaus J.

  Miescke (a professor in the Department of Mathematics, Statistics, and Computer

  Science at the University of Illinois) and Stephen Sulpor (a statistician who works for

  Centers for Medicare and Medicaid Services). See Mabel and Abner Diaz’s Motion in

  Limine to Exclude Expert Testimony, or Alternatively, Request for Daubert Hearing

  (DE# 247 at 2, 2/21/08).

  I.    Edith “Peggy” Sposato

        In the instant case, the government charges the defendants with using their

  medical billing company to submit fraudulent claims to Medicare. In August 2004, the

  government seized more than 400 boxes of records from the defendants’ billing

  company. See Government’s Response to Motions to Compel Discovery and to

  Exclude Expert Testimony (DE# 261 at 2, 3/4/08). The government’s statisticians, Dr.

  Klaus J. Miescke and Stephen Sulpor, selected “a statistically significant random

  sample of claims packets” (hereinafter “packets”)3 for the fourteen suppliers of durable


        3
          These packets contain prescriptions for durable medical equipment, beneficiary
  records (such as a Medicare card or driver’s license but not medical records) and, in
  some cases, additional supporting documentation such as a certificate of medical

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  medical equipment that were named in the original indictment whose claims were

  submitted in 2003 and 2004.4 Id. at 2. The government provided these sample packets

  to Ms. Sposato for analysis. Ms. Sposato analyzed the packets and identified certain

  characteristics or categories which she believed were evidence of fraud. The categories

  identified by Ms. Sposato were:5

         1.     The diagnosis written on the medical order doesn’t support the treatment
                prescribed.

         5.     The treatment prescribed on the order is inconsistent with the HCPCS6
                codes written.

         7.     The order prescribes a medically excessive amount of durable medical
                equipment.

         8.     The order implies a suspiciously extreme injury, either through what is
                prescribed, or what HCPCS codes are written.

  See Government’s Response to Motions to Compel Discovery and to Exclude Expert

  Testimony (DE# 261 at 3, 3/4/08). Some of these packets fell into more than one

  category.

         Ms. Sposato will not testify that the packets containing one or more of these

  categories are fraudulent. “Rather, she will testify . . . that most of the claims packets


  necessity.
         4
           The government chose these specific parameters because it did not have
  cooperating co-defendants or consensual recordings for this period. See Government’s
  Response to Motions to Compel Discovery and to Exclude Expert Testimony (DE# 261
  at 2, 3/4/08).
         5
          Initially, Ms. Sposato identified eight categories. At the evidentiary hearing, the
  government withdrew categories 2, 3, 4 and 6. To avoid confusion, the Court will
  continue to use the same numbers assigned to the original eight categories in this
  Order.
         6
       HCPCS is an acronym for “Healthcare Common Procedure Coding System.”
  HCPCS is a medical coding system used by Medicare.

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  she examined had at least one, and in most cases several, of the[se] characteristics . . .

  .” See Government’s Response to Motions to Compel Discovery and to Exclude Expert

  Testimony (DE# 261 at 7, 3/4/08). At trial, the government will present testimony that

  Mabel Diaz told employees to write osteoarthritis as the diagnosis on fraudulent

  prescriptions and that the defendants told the employees which medical billing codes to

  use without advising them of the injuries the patient had at the time. The government

  intends to argue that the categories or characteristics identified by Ms. Sposato, as

  corroborated by the testimony of company employees, are evidence of fraud. Id.

        1.     Qualification

        The first requirement for the admissibility of expert testimony is that the expert is

  qualified to testify competently regarding the matters he or she intends to address. City

  of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d at 563. Rule 702 permits a person to

  qualify as an expert based upon knowledge, skill, experience, training, or education.

  Frazier, 387 F.3d at 1260-61. The defendants argue that Ms. Sposato’s nursing

  experience does not qualify her to second guess a doctor’s prescribed treatment,

  particularly when she is not privy to any medical records and did not examine the

  patient. For instance, the defendants argue that the conclusion that medical equipment

  is “excessive” (category 7) is generally determined by a doctor not a nurse. See Mabel

  and Abner Diaz’s Reply to Government’s Response to Motion to Exclude Expert

  Testimony (DE# 266 at 4, 3/10/08).

        Ms. Sposato testified that category 7 was comprised of excessive orders of

  drainable ostomy pouches. Ms. Sposato explained that a patient only needs two




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  drainable ostomy pouches because they are reusable.7 The records show that thirty

  pouches were ordered for a single patient per month. Ms. Sposato is qualified to testify

  that a prescription for 308 reusable ostomy pouches per month is excessive based on

  her extensive nursing experience and treatment of ostomy patients. Ms. Sposato’s

  experience and training also qualifies her to testify concerning the other three

  categories.

         Ms. Sposato earned her nursing diploma from the Willard School of Nursing in

  the early 1960s. After passing her boards, she became a registered nurse. In 1974, Ms.

  Sposato earned a Bachelor of Science degree in nursing from Florida International

  University and a Nurse Practitioner Certification from the University of Miami. A nurse

  practitioner, working under the supervision of a doctor, is permitted to take a patient’s

  health history, conduct a physical exam, interpret lab reports and x-rays, prescribe

  treatment and refer patients to specialists. Ms. Sposato also holds a Master’s degree in

  health management from St. Thomas University and a Legal Nurse Consultant

  Certification from the Florida School of Risk Management.

         Ms. Sposato worked as nurse in an emergency room in New Jersey and at Mt.

  Sinai Medical Hospital in Miami Beach. See Sposato Resume, Exhibit 9 to

  Government’s Response to Motions to Compel Discovery and to Exclude Expert

  Testimony (DE# 261, 3/4/08). From 1974 until 1990, Ms. Sposato managed a clinic and



         7
        Ms. Sposato acknowledged that disposable ostomy pouches can also be used.
  However, the pouches reflected in the packets were reusable pouches.
         8
           At the evidentiary hearing, there was some confusion on whether Medicare was
  actually billed for 30 ostomy bags per patient or whether the number “30" referred to the
  number of times the ostomy bag should be changed. This issue is addressed below.

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  treated patients at a retirement community. During this time, Ms. Sposato provided

  direct care to seniors which included assessing patients and creating and maintaining a

  medical history that incorporated physicians, medications and special needs. Id. From

  1990 to 1995, Ms. Sposato was the director for Humana Seniors Association. Her

  duties included researching and interpreting Medicare billing and assisting in claims

  filing. In 1995 and 1996, Ms. Sposato spent a year and four months working on an

  internal audit of medical records and billings to ensure compliance with Medicare

  regulations. Ms. Sposato has worked at the United States Attorney’s Office for the

  Southern District of Florida as a nurse investigator since 1996. Her duties include

  reviewing medical records and determining coding and medical necessity.

         In United States v. Majors, 196 F.3d 1206 (11th Cir. 1999), the defendants

  appealed the district court’s admission of the government’s financial expert under Rule

  702 because the witness was not a certified public accountant and had no experience

  in small business management or in the preparation of consolidated financial

  statements. The Eleventh Circuit affirmed the district court noting that the witness had

  “previously performed financial analyses for the FBI in over fifty cases for more than

  eight and one-half years . . . . [and] had testified in . . . cases involving bank fraud, mail

  fraud and money laundering investigations.” Id. at 1215. The Court concluded that “[b]y

  virtue of training and experience, he possessed special knowledge and skill not

  available to the ordinary witness.” Id.

         Ms. Sposato is qualified to competently testify concerning the above categories

  she identified. Ms. Sposato is an Advanced Registered Nurse Practitioner with 35 years

  of clinical nursing experience. See Sposato Resume, Exhibit 9 to Government’s


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  Response to Motions to Compel Discovery and to Exclude Expert Testimony (DE# 261,

  3/4/08). During her nursing career, the majority of Ms. Sposato’s patients were

  Medicare patients. Ms. Sposato is familiar with Medicare billing codes and conducted

  internal audits to ensure compliance with Medicare regulations. Some of the Medicare

  claims submitted by the defendants’ company listed osteoarthritis as the diagnosis. Ms.

  Sposato has experience treating osteoarthritis patients.

         2.     Reliability

         The second requirement is reliability. Reliability is different than believability or

  persuasiveness, which remains an issue for the trier of fact. Rink v. Cheminova, Inc.,

  400 F.3d 1286, 1293 n. 7 (11th Cir. 2005). To evaluate the reliability of scientific expert

  opinion, courts consider, to the extent practicable: (1) whether the expert’s theory can

  be and has been tested; (2) whether the theory has been subjected to peer review and

  publication; (3) the known or potential rate of error of the particular scientific technique

  and (4) whether the technique is generally accepted in the scientific community. These

  factors are illustrative, not exhaustive; not all of them will apply in every case, and in

  some cases other factors will be equally important in evaluating the reliability of

  proffered expert opinion. Frazier, 387 F.3d at 1261-62.

         The government argues that “[f]or [the] type of analysis [conducted by Ms.

  Sposato], no peer-reviewed studies or rates of error will be available, but those

  limitations do not suggest that Sposato’s method was unreliable, only that she was not

  conducting a scientific study. Her method is suited to the task at hand and there is no

  reason to question its reliability.” See Government’s Response to Motions to Compel

  Discovery and to Exclude Expert Testimony (DE# 261 at 11, 3/4/08). The Court agrees


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   with the government that the factors that would normally be used to gauge scientific

   expert opinion, such as peer review, publication and rates of error, are not appropriate

   in assessing Ms. Sposato’s testimony under Rule 702.

          With respect to Category 1, Ms. Sposato explained that she found a large

   number of packets where the diagnosis was osteoarthritis and the prescription was for a

   prosthetic limb or brace. Ms. Sposato determined that these packets fell into category 1

   (the diagnosis written on the medical order doesn’t support the treatment prescribed)

   because it was clear that an artificial limb is not used to treat osteoarthritis and that a

   brace was also improper because the affected area should not be immobilized. Ms.

   Sposato made these determinations based on her nurse training and experience with

   osteoarthritis patients.

          At the evidentiary hearing, the defendants challenged Ms. Sposato position that

   braces should not be used to treat osteoarthritis. On cross-examination, Ms. Sposato

   agreed that some doctors do prescribe soft braces to support patients with

   osteoarthritis, although this practice is disfavored. Ms. Sposato could not testify as to

   the number of soft braces that were prescribed in the packets she identified under

   category 1. The defendants argue that Ms. Sposato’s testimony as to category 1 is

   unreliable because she included soft braces which could be used to treat osteoarthritis.

   Following the Daubert hearing, Ms. Sposato reviewed sample packets for five of the

   fourteen supplier companies and attested that only 3.58% of the submitted claims were

   for soft braces or braces where the fabrication could not be determined. See Affidavit of

   Sposato, Government’s Supplement to Response to Motion to Exclude Expert

   Testimony (DE# 283 at Exhibit 1, 3/26/08).


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          The inclusion of soft braces in category 1 does not render Ms. Sposato’s

   testimony unreliable. The majority of the packets in category 1 concern artificial limbs or

   hard braces. Ms. Sposato can still testify that the use of soft braces to treat

   osteoarthritis is not recommended. The defendants are free to cross-examine Ms.

   Sposato at trial about the use of soft braces in treating osteoarthritis. See Daubert, 509

   U.S. at 596 (noting that “[v]igorous cross-examination, presentation of contrary

   evidence, and careful instruction on the burden of proof are the traditional and

   appropriate means of attacking shaky but admissible evidence.”).

          Category 5 concerns packets where the treatment prescribed on the order was

   inconsistent with the HCPCS codes in the packet. In identifying packets that fell within

   category 5, Ms. Sposato compared the HCPCS codes written on the prescription with

   the HCPCS code manual. Ms. Sposato has experience reviewing medical prescriptions

   and has previously worked with Medicare billing codes in her nursing career and during

   the audits she conducted. Ms. Sposato’s methodology of comparing the HCPCS codes

   in the packets with the Medicare coding books is easily verifiable and reliable. See

   United States v. Cano, 289 F. 3d 1354 (11th Cir. 2002) (affirming admission of agent’s

   non-expert testimony concerning the meaning of hieroglyphics in drug ledgers).

          Category 7 (the order prescribes a medically excessive amount of durable

   medical equipment) is comprised only of excessive reusable ostomy supplies. In Ms.

   Sposato’s experience, a patient only needs two reusable ostomy pouches. The packets

   she examined prescribed 30 reusable ostomy pouches. At the Daubert hearing, the

   defendants challenged the reliability of Ms. Sposato’s testimony concerning category 7.

   The defendants argue that Ms. Sposato’s testimony is unreliable because she could


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   have misinterpreted the information on the packets such that the number “30" could

   represent the number of times a patient had to change the ostomy pouch and not the

   number of pouches ordered. Following the hearing, Ms. Sposato and an FBI agent

   compared sixteen packets where ostomy pouches had been prescribed with the claims

   submitted to Medicare by the defendants’ billing company. In each instance, the

   defendants billed Medicare for 30 reusable ostomy pouches per patient, per month.

   See Government’s Supplement to Response to Motion to Exclude Expert Testimony

   (DE# 283, 3/26/08). Thus, Ms. Sposato correctly interpreted the information in the

   packets concerning the number of ostomy pouches ordered. The Court finds that this

   testimony is reliable. Ms. Sposato has experience treating patients with ostomies and

   can certainly testify at trial that 30 pouches per patient per month is excessive.

          Category 8 (the order implies a suspiciously extreme injury, either through what

   is prescribed, or what HCPCS codes are written) concerns packets where the

   suggested injury was extensive. In one example, Exhibit H8, the patient was missing

   half her pelvis, her left hip and leg and her left arm and shoulder. Ms. Sposato admitted

   that there may be some Medicare patients who have this type of extreme injury, such

   as a trauma case or where the patient has extensive bone cancer. However, the

   packets she examined revealed hundreds of such patients with such extreme injuries.

   Ms. Sposato may testify that the order implies an “extreme injury,” either through what

   is prescribed, or what HCPCS codes are written. The Court will not permit Ms. Sposato

   to testify that the injuries were “suspicious.”

          3.     Helpfulness

          The third requirement for admissibility is that the expert testimony must assist the


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   trier of fact. “[E]xpert testimony is admissible if it concerns matters that are beyond the

   understanding of the average lay person . . . . Proffered expert testimony generally will

   not help the trier of fact when it offers nothing more than what lawyers for the parties

   can argue in closing arguments.” Frazier, 387 F.3d at 1262-63. Medicare billing codes,

   the treatment of osteoarthritis patients and the use of ostomy supplies is beyond the

   knowledge of an ordinary juror. Ms. Sposato’s testimony will assist the jury in

   understanding the facts of this case.

   II.    Dr. Klaus J. Miescke and Stephen Sulpor

          The defendants seek to exclude the testimony of Dr. Klaus J. Miescke and

   Stephen Sulpor.9 “Dr. Miescke and Mr. Sulpor are statisticians who selected a sample

   of the billing papers seized from [the defendants’ billing company] in August 2004.” See

   Mabel and Abner Diaz’s Motion in Limine to Exclude Expert Testimony, or Alternatively,

   Request for Daubert Hearing (DE# 247 at Exhibit A at 1, 2/21/08). Under the facts of

   the instant case, the Court finds that Dr. Mieske and Mr. Sulpor’s testimony should be

   excluded. The government will provide testimony as to the defendants’ alleged

   fraudulent billing practices. The government may argue in closing arguments that the

   number of packets examined by Ms. Sposato was sufficient to infer that similar

   information would be contained in the unexamined packets. The testimony of a

   statistician may confuse the jury and would not necessarily assist the jury in

   understanding the facts of the case. As such, Dr. Mieske and Mr. Sulpor should not be

   permitted to testify at trial under the facts of the instant case.


          9
             The government intends to call only Dr. Miescke at trial. See Government’s
   Response to Motions to Compel Discovery and to Exclude Expert Testimony (DE# 261
   at 4 n. 5, 3/4/08).

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                                        CONCLUSION

           Ms. Sposato’s education and experience qualify her to offer her opinions

   concerning the aforementioned four categories. The methods employed by Ms.

   Sposato in evaluating the packets are reliable and her testimony will assist the jury in

   understanding the evidence. With respect to the government’s statisticians, the Court

   finds that their testimony may confuse the jury and would not necessarily assist the jury

   in understanding the facts of the case. Accordingly, Mabel and Abner Diaz’s Motion in

   Limine to Exclude Expert Testimony, or Alternatively, Request for Daubert Hearing

   (DE# 247, 2/21/08) is GRANTED in part and DENIED in part.

           DONE AND ORDERED in Chambers at Miami, Florida, this 28th day of March,

   2008.



                                             JOHN J. O’SULLIVAN
                                             U. S. MAGISTRATE JUDGE
   c:      Honorable Judge Ungaro
           All Counsel of Record




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